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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                        )
                                                 )   Case No.: 21-cr-00563 (JDB)
              Plaintiff,                         )
                                                 )
vs.                                              )
                                                 )   DEFENDANT’S SENTENCING
VICTORIA CHARITY WHITE,                          )   MEMORANDUM
                                                 )
              Defendant.                         )



       Victoria Charity White, through counsel, hereby submits the following sentencing

memorandum for the sentencing set at 2:00 p.m. on November 20, 2023.

                                          I. Witnesses

       Ms. White does not anticipate calling any witnesses at the sentencing hearing.

                                           II. Exhibits

       Ms. White anticipates submitting the following exhibit at the sentencing hearing:

       A. Video of Defendant on steps of West Terrace;

       B. Video of Defendant on steps of West Terrace, alternate angle;

       C. Closed Circuit TV video of Lower West Terrace tunnel; and

       D. Law Enforcement body worn camera video of Defendant’s apprehension.

                                            III. Issues

       There are no disputed issues to be resolved at sentencing. A brief in support of the

Defendant is attached.




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                                                        Respectfully submitted,

                                                        /s/ Zach Crowdes
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                                                        /s/ Brad Hansen
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                                                        FAX: (515) 309-9625
                                                        EMAIL: brad_hansen@fd.org

                                                        ATTORNEYS FOR DEFENDANT

             CERTIFICATE OF SERVICE
I hereby certify that on November 14, 2023, I
electronically filed this document with the Clerk of
Court using the ECF system which will serve it on the
appropriate parties.
                        By: /s/ Angie McClain




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